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1    DINA L. SANTOS, Bar #204200
     A Professional Law Corporation
2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     MAGGIE LUONG
6
7
                         IN THE UNITED STATES DISTRICT COURT
8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11
     UNITED STATES OF AMERICA,       )      No. CR-S 08-543 GEB
12                                   )
                    Plaintiff,       )
13                                   )      STIPULATION AND ORDER VACATING
          v.                         )      DATE, CONTINUING CASE, AND
14                                   )      EXCLUDING TIME (Amended)
     MAGGIE LUONG,                   )
15                  Defendant.       )
                                     )      Date   June 4, 2010
16   _______________________________ )      Time: 9:00 a.m.
                                     )      Judge: BURRELL
17
18
          IT IS HEREBY STIPULATED by and between Assistant United States
19
     Attorney Michael Beckwith, Counsel for Plaintiff, and Attorney Dina L.
20
     Santos, Counsel for Defendant Maggie Luong, that the status conference
21
     scheduled for April 16,2010, be vacated and the matter be continued to
22
     this Court's criminal calendar on June 4, 2010, at 9:00 a.m. for
23
     further status.
24
          This continuance is requested by the defense in order to permit
25
     counsel time to review new discovery and continue in negotiations with
26
     the prosecution in attempt to finalize a plea agreement.           The
27
     prosecution has informed the defense that approximately 500 pages of
28
              Case 2:08-cr-00543-KJM Document 226 Filed 04/19/10 Page 2 of 3


1    new discovery will be produced shortly and the defense will need time
2    to review that new discovery.
3          IT IS FURTHER STIPULATED that time for trial under the Speedy
4    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
5    3161(h)(8)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
6    ends of justice served in granting the continuance and allowing the
7    defendant further time to prepare outweigh the best interests of the
8    public and the defendant in a speedy trial.
9          The Court is advised that all counsel have conferred about this
10   request, that they have agreed to the June 4, 2010, date, and that Mr.
11   Beckwith has authorized Ms. Santos to sign this stipulation on his
12   behalf.
13
14
15         IT IS SO STIPULATED.
16
17   Dated: April 15, 2010                      /S/ Dina L. Santos
                                               DINA L. SANTOS
18                                             Attorney for
                                               Maggie Luong
19
20   Dated: April 15, 2010                      /S/ Michael Beckwith
                                               MICHAEL BECKWITH
21                                             Assistant United States Attorney
                                               Attorney for Plaintiff
22
23                                         O R D E R
24         IT IS SO ORDERED.
25   Dated:     April 16, 2010
26
27                                        GARLAND E. BURRELL, JR.
28                                        United States District Judge


     Stipulation and Order                      2
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     Stipulation and Order                    3
